                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                                  No. 7:23-CV-897

IN RE:                                                 )
CAMP LEJEUNE WATER LITIGATION                          )
THIS PLEADING RELATES TO:                              )
ALL CASES                                              )


      PLAINTIFFS’ LEADERSHIP GROUP’S RESPONSE IN OPPOSITION TO
    DEFENDANT’S MOTION FOR EXTENSION TO RESPOND TO MOTION FOR
                     PARTIAL SUMMARY JUDGMENT

       The Plaintiffs’ Leadership Group (“PLG”) opposes the government’s Motion for Extension

to Respond to the PLG’s Motion for Partial Summary Judgment (the “Motion”) for one reason:

these cases need to be resolved as quickly as possible, and resolution of the PLG’s summary

judgment motion will govern the course of discovery and how cases will be tried. [D.E. 121]. In

support of this opposition, the PLG says as follows:

       On several prior occasions, the PLG has agreed to extensions of time requested by the

government on other deadlines. Most recently, on January 22, 2024, the government requested that

the PLG agree to an extension of time of two weeks on the government’s deadline to respond to

the PLG’s Motion for Partial Summary Judgment on the Issue of Specific Causation (the “Partial

SJ Motion”). [D.E. 110]. The PLG responded that it could not consent to an extension due to the

urgency of resolving the Partial SJ Motion.

       During the hearing before Judge Boyle on January 24, 2024, the PLG repeatedly articulated

its position that Camp Lejeune Justice Act (“CLJA”) civil actions should be set for trial as quickly

as possible. Indeed, the Court has repeatedly stated that CLJA civil actions must be litigated

expeditiously. For example, in Case Management Order No. 2, the Court established a series of




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discovery deadlines and made clear that it “expects the Parties to conduct discovery efficiently”

and for the first trials to be held in 2024. [D.E. 23, at § XI].

           The Court has expressed that CLJA civil actions must be handled efficiently because of the

volume of such civil actions and the need to avoid litigation lasting for the life of the Roman

Empire. E.g., [Tr. of 4/5/23 Hr’g, at p 8:21]. The Court’s goal is laudable and the PLG certainly

agrees. However, there is another pressing need for expedience: the contamination at Camp

Lejeune dates back to at least 1953, Marines and their families have been waiting decades for

justice, and in many cases, clients who were poisoned by the government are literally dying. The

delay of justice must stop. It’s the PLG’s job to clear the government’s repeated roadblocks to

justice.

           As discussed with Judge Boyle on January 24, 2024, a decision on the PLG’s Partial SJ

Motion is necessary prior to holding trials, and holding trials is necessary before this CLJA

litigation can be resolved. With these facts in mind, the PLG considered the need for professional

courtesy but that consideration is outweighed by the need to resolve substantive motions without

unnecessary delay. It should be emphasized that the PLG’s Partial SJ Motion is a pure issue of

law, requires no litigation over the possible existence of factual disputes, and can therefore be

efficiently briefed.

           The PLG will always grant professional courtesies where such courtesies do not cause

undue prejudice to those injured by the poisoned water at Camp Lejeune. However, in the present

context, a decision on the PLG’s Partial SJ Motion is an essential stepping stone toward the




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resolution or trial of CLJA claims. Hence, the government’s requested extension should be

denied.1

                                [Signatures Follow on Next Page]




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          In a footnote, the government’s Motion criticized the PLG for not scheduling a meet and
confer concerning the Partial SJ Motion. The PLG acknowledges the provisions of Case
Management Order No. 2 indicating that parties should meet and confer prior to motions raising
global issues, and the PLG will certainly follow this mandate. It is important to note, however, that
a meet and confer on the PLG’s Partial SJ Motion could never have resulted in any sort of
agreement and is completely irrelevant to the government’s request for an extension of time.
Perhaps for these reasons, the government’s gratuitous criticism was relegated to a footnote.

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Respectfully submitted this 27th day of January, 2024.

/s/ J. Edward Bell, III                             /s/ Zina Bash
J. Edward Bell, III (admitted pro hac vice)         Zina Bash (admitted pro hac vice)
Bell Legal Group, LLC                               Keller Postman LLC
219 Ridge St.                                       111 Congress Avenue, Suite 500
Georgetown, SC 29440                                Austin, TX 78701
Telephone: (843) 546-2408                           Telephone: 956-345-9462
jeb@belllegalgroup.com                              zina.bash@kellerpostman.com

Lead Counsel for Plaintiffs                         Co-Lead Counsel for Plaintiffs and
                                                    Government Liaison Counsel

/s/ Elizabeth J. Cabraser                           /s/ W. Michael Dowling
Elizabeth J. Cabraser (admitted pro hac vice)       W. Michael Dowling (NC Bar No. 42790)
Lieff Cabraser Heimann & Bernstein, LLP             The Dowling Firm PLLC
275 Battery Street, 29th Floor                      Post Office Box 27843
San Francisco, CA 94111                             Raleigh, North Carolina 27611
Telephone: (415) 956-1000                           Telephone: (919) 529-3351
ecabraser@lchb.com                                  mike@dowlingfirm.com

Co-Lead Counsel for Plaintiffs                      Co-Lead Counsel for Plaintiffs

/s/ Robin L. Greenwald                               /s/ James A. Roberts, III
Robin L. Greenwald (admitted pro hac vice)          James A. Roberts, III
Weitz & Luxenberg, P.C.                             Lewis & Roberts, PLLC
700 Broadway                                        3700 Glenwood Ave., Ste. 410
New York, NY 10003                                  Raleigh, NC 27612
Telephone: 212-558-5802                             Telephone: (919) 981-0191
rgreenwald@weitzlux.com                             jar@lewis-roberts.com

Co-Lead Counsel for Plaintiffs                      Co-Lead Counsel for Plaintiffs



/s/ Mona Lisa Wallace
Mona Lisa Wallace (N.C. Bar No.: 009021)
Wallace & Graham, P.A.
525 North Main Street
Salisbury, North Carolina 28144
Tel: 704-633-5244
mwallace@wallacegraham.com

Co-Lead Counsel for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I, J. Edward Bell, III, hereby certify that the foregoing document was electronically filed

on the Court’s CM/ECF system on this date, and that all counsel of record will be served with

notice of the said filing via the CM/ECF system.

       This the 27th day of January, 2024.

                                             /s/ J. Edward Bell, III________________
                                             J. Edward Bell, III




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